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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF DELAWARE

                                       )
 UNITED STATES OF AMERICA,             )
             Plaintiff,                )
                                       ) Criminal Action No. 23-mj-00274-MN
       v.                              )
 ROBERT HUNTER BIDEN                   )
                                       )
             Defendant.
                                       )




         OPPOSITION OF THE HONORABLE JASON SMITH,
      MEMBER OF THE U.S. HOUSE OF REPRESENTATIVES AND
         CHAIR OF THE U.S. HOUSE OF REPRESENTATIVES
       COMMITTEE ON WAYS AND MEANS, TO DEFENDANT’S
           MOTION FOR LEAVE TO FILE UNDER SEAL



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                                      Counsel for Amicus Curiae the Honorable
                                      Jason Smith, Member of the U.S. House of
                                      Representatives and Chair of the U.S.
                                      House of Representatives Committee on
Dated: July 31, 2023                  Ways and Means
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         The Honorable Jason Smith, Member of the U.S. House of Representatives

and Chair of the U.S. House of Representatives Committee on Ways and Means

(“Chairman Smith”), respectfully submits this opposition to Defendant’s Motion for

Leave to File Under Seal (the “Motion”) (D.I. 17). For the reasons set forth below,

the Motion should be denied, and the Amicus Filing (defined below) should be

unsealed.

    I.      PRELIMINARY STATEMENT.

         Despite this Court giving Defendant Robert Hunter Biden (“Defendant”) the

opportunity to identify what materials he believes to be confidential taxpayer and

grand jury materials, Defendant has failed to do so. In Miller v. Indiana Hospital,

the lead case cited (but misquoted) by Defendant,1 the Third Circuit stated that “[a]

party seeking to seal any part of a judicial record bears the heavy burden of showing

that ‘the material is the kind of information that courts will protect’ and that

‘disclosure will work a clearly defined and serious injury to the party seeking

closure.’” 16 F.3d 549, 551 (3d Cir. 1994) (emphasis added and citation omitted).

The Third Circuit “has made it clear that our ‘strong presumption’ of openness does

not permit the routine closing of judicial records to the public.” Id. (emphasis

added).


1
      See D.I. 17 at 2. Defendant neglected to include the word “heavy” with
respect to the burden in addition to misquoting the text.
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         Despite this strong presumption of openness and the heavy burden to seal

materials, Defendant has sought to have access to publicly available documents

blocked. Defendant’s counsel has threatened Chairman Smith and his counsel with

sanctions and claimed that the filing was “illegal” and that the materials must be

removed from the docket. While the Court gave Defendant the benefit of the doubt

and allowed him to identify which materials he claims should not have been publicly

filed, Defendant failed to do so. Defendant’s Motion must be denied.

   II.     BACKGROUND TO MOTION.

         On May 26, 2023, Gary A. Shapley, Jr. (known as Whistleblower 1), a

Supervisory Special Agent with IRS-Criminal Investigation, gave a full day of

closed-door testimony to the Committee on Ways and Means of the U.S. House of

Representatives (the “Committee”) concerning the investigation of Defendant.

Agent Shapley produced documents and provided a subsequent affidavit to the

Committee. On June 1, 2023, Joseph Ziegler (known as Whistleblower 2), a Special

Agent with IRS-Criminal Investigation, also provided a full day of closed-door

testimony to the Committee. (Together, Special Agents Shapley and Ziegler are

referred to herein as the “Whistleblowers.” The transcripts of the Whistleblowers’

testimony, exhibits thereto, and related documents are referred to hereafter as the

“Whistleblower Materials.”)




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      On June 20, 2023, the charges against the Defendant were announced in two

separate criminal actions—this case, as well as United States v. Robert Hunter

Biden, 1:23-cr-61 (D. Del.) (the “Gun Case”). It was also announced that the United

States and the Defendant intended to enter a plea agreement in this case and a

diversion agreement in the Gun Case, but the content of the parties’ agreements were

kept secret.

      On June 21, 2023, an initial appearance and plea hearing was scheduled for

July 26, 2023. See D.I. 3. On June 22, 2023, by majority vote, the Committee

submitted the Whistleblower Materials, with certain redactions made by both

majority and minority counsel, to the full House of Representatives.2        These

redactions covered the name and identifying information of Whistleblower 2,3 the

names of the Defendant’s adult children, Committee staff names, and other

personally identifiable information such as phone numbers, signatures, physical

addresses, email addresses, account numbers, and similar information. Since June

22, 2023, the Whistleblower Materials have been publicly available on the




2
      See 118th Congress (2023 - 2024) - 1st Session, June 22, 2023 - Issue: Vol.
169, No. 109 - Daily Edition (available at: https://www.congress.gov/
congressional-record/volume-169/issue-109/daily-digest);
3
      Whistleblower 2 requested that the Committee keep his identity confidential
pending his own decision as to whether or when he would identify himself publicly.
He chose to do so on July 19, 2023.


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Committee’s website.4      The Committee report containing the Whistleblower

Materials is awaiting printing and publication by the Government Publishing

Office.5

      On the morning of July 25, 2023, Chairman Smith moved for leave to file an

amicus curiae brief in aid of the plea hearing of Defendant. Chairman Smith

attached the proposed brief, including exhibits, to his motion for leave (together, the

Amicus Filing). Shortly thereafter, counsel for Defendant emailed counsel for

Chairman Smith to demand that the Amicus Filing be taken down and filed under

seal, alleging that portions of the filing contain confidential taxpayer and grand jury

information. See D.I. 8-1 (Ex. A) at 6. Counsel for Chairman Smith responded that

all the information in the Amicus Filing is publicly available on the Committee’s

website and has been since June 22, 2023. Id.




4
       Meeting on Documents Protected Under Internal Revenue Code Section 6103
(available at:      https://waysandmeans.house.gov/event/meeting-on-documents-
protected-under-internal-revenue-code-section-6103//).      The Whistleblowers’
testimony has also been made public on other webpages following public testimony
by the Whistleblowers before a July 19, 2023 hearing of the House Committee on
Oversight Accountability; Chairman Smith participated in the hearing. See
https://oversight.house.gov/landing/biden-family-investigation/ (providing links to
Whistleblower materials).
5
      H.R. Rep. No. 118-144 (2023) (awaiting printing by the Government
Publishing Office).


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      Defendant’s counsel responded that they would be moving to seal the filing

and followed up with a letter to counsel. Id. at 4.; D.I. 9, Ex. A. In email

correspondence with Chairman Smith’s counsel, Defendant’s counsel threatened to

seek sanctions and claimed that the filing of the publicly available documents was

“illegal.” See D.I. 8-1 (Ex. A) at 3 (“Your attempts to publicly file my client’s

personal financial information with no protection 1s [sic] are improper, illegal and

in violation of applicable rules. Please follow the rules in making your non-party

and non-approved filings. We will seek all appropriate sanctions in response to your

actions.”). At no point during this exchange did Defendant’s counsel identify any

specific information in the Amicus Filing that violated any rule or statute requiring

the redaction or sealing of any material. To date, they still have not identified any

such information.

      The Amicus Filing was then removed from the docket after Defendant’s

counsel called the Clerk of the Court. See D.I. 8, 9, 12, 14 & 20. Chairman Smith

re-filed the Amicus Filing and submitted correspondence regarding why he was

doing so. See D.I. 7. Thereafter, on July 25, 2023, the Court entered an Oral Order

on the Docket which, inter alia, temporarily placed the Amicus Filing under seal,

and gave Defendant until close of business on July 26, 2023 to identify what specific

information should be sealed and to show why that information should be sealed.

D.I. 12.



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   III.    LEGAL ARGUMENT.

      A.     Defendant Bears the Heavy Burden to Seal the Amicus Filing.

      The Court’s July 25 Oral Order (D.I. 12) noted, “As an initial matter,

Defendant has not indicated what specific information should be sealed nor made

any showing as required under In re Avandia Marketing, Sales Practices & Products

Liability Litigation, 924 F.3d 662 (3d Cir. 2019). In fact, Defendant has not filed a

formal request with the Court to seal anything.” While the Court placed a temporary

seal over the filing, it gave Defendant until close of business on July 26 to identify

the specific information that he wanted sealed and to show why, consistent with the

required legal standard, the information should be sealed; the Court noted that,

“[s]hould Defendant fail to make that showing, the document will be unsealed in its

entirety.” D.I. 12.

      Before granting the motion to seal the records, a court “must articulate the

compelling, countervailing interests to be protected, make specific findings on the

record concerning the effects of disclosure, and provide an opportunity for interested

third parties to be heard.” In re Avandia Marketing, 924 F.3d at 672-73 (cleaned

up). “In both criminal and civil cases, a common law right of access attaches ‘to

judicial proceedings and records.’” Id. at 672 (quoting Goldstein v. Forbes (In re

Cendant Corp.), 260 F.3d 183, 192 (3d Cir. 2001)). “A party seeking to seal any



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part of a judicial record bears the heavy burden of showing that ‘the material is the

kind of information that courts will protect’ and that ‘disclosure will work a clearly

defined and serious injury to the party seeking closure.’” Miller, 16 F.3d at 551

(emphasis added and citation omitted). “The right of access ‘promotes public

confidence in the judicial system by enhancing testimonial trustworthiness and the

quality of justice dispensed by the court,’” and the “openness of the process should

provide the public with a more complete understanding of the judicial system and a

better perception of its fairness.” In re Avandia Marketing, 924 F.3d at 672 (quoting

Littlejohn v. BIC Corp., 851 F.2d 673, 678 (3d Cir. 1988)).

      B.     Defendant Hasn’t Identified Specific Information to Be Sealed or
             Demonstrated Why Specific Information Should Be Protected.

      Defendant has failed to carry his burden. In footnote 1 to the Motion,

Defendant concedes that he has neither identified what specific information should

be sealed nor attempted to make the requisite showing under In re Avandia

Marketing. See D.I. 17, n.1 (“We have endeavored to identify and brief the general

issues at stake here with respect to protecting sensitive information….”) (emphasis

added). Rather, Defendant requests “additional time to more fully brief these issues

before the Court.” Id. Accordingly, the Motion fails to satisfy Defendant’s burden

and should be denied on this basis alone.

      Defendant identifies no purported grand jury or tax return information.

Indeed, Defendant does not even cite to a page number of the Amicus Filing—let

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alone any specific information on any certain page—settling instead for a sweeping

claim that “Exhibits 2 through 6 of Chairman Smith’s brief contain information that

is patently considered grand jury material protected from disclosure under Rule 6(e)

and 26 U.S.C. § 6103.” Id. at 4-5. This flatly ignores both the Court’s Oral Order

and the relevant standard set forth in In re Avandia Marketing. “Broad allegations

of harm, bereft of specific examples or articulated reasoning”—which are all that

have been presented in Defendant’s Motion—“are insufficient.” In re Avandia

Marketing, 924 F.3d at 673. “[C]areful factfinding and balancing of competing

interests is required before the strong presumption of openness can be overcome by

the secrecy interests of private litigants.” Id. Indeed, the Court is required to

“conduct a document-by-document review of the contents of the challenged

documents” before “the strong presumption of openness can be overcome by the

secrecy interests of private litigants.” Id. at 672-73 (emphasis added).

      It is unsurprising that Defendant was not able to identify any secret grand jury

information within the Whistleblower materials: the Whistleblowers were

represented by competent counsel who were careful not to submit any such

information to the Committee. See, e.g., D.I. 7, Ex. 2 at 41-42 (“The report includes

itemized elements of each violation for each year up above it that I couldn’t provide

because of grand jury (6)(e) material.”). Thus, even if the Court were to grant

Defendant the additional time he requests—which it should not—Defendant cannot



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 make the requisite showing.

       Defendant has not identified any specific parts of the Amicus Filing that

 should be redacted, and has failed to make the requisite document-by-document

 showing that any part of the Amicus Filing should remain under seal. The Motion

 should be denied.

       C.     Defendant Has Not Shown and Cannot Show That He Would Be
              Injured by Unsealing the Whistleblower Materials.

       Even if Defendant had identified specific information, he could not have

 shown that it should be sealed because all of the transcript testimony and related

 documents included as Exhibits 2 through 6 of the Amicus Filing—the

 Whistleblower Materials—are publicly available and have been for some time.

 Moreover, they will continue to be available to the public even if the Defendant’s

 Motion were granted. Accordingly, Defendant cannot identify how he would be

 injured by unsealing these documents, let alone demonstrate the required clearly

 defined and serious injury.

       The Whistleblowers provided their testimony to the Committee under 26

 U.S.C. § 6103(f)(5), “Disclosure by whistleblower,” which provides:

       Any person who otherwise has or had access to any return or return
       information under this section may disclose such return or return
       information to [the Committee] … if such person believes such return
       or return information may relate to possible misconduct,
       maladministration, or taxpayer abuse.

 Thus, in the first instance, the Whistleblowers were statutorily authorized to provide


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 their testimony to the Committee in accordance with Section 6103(f).

        As previously noted, on June 22, 2023, the Committee, pursuant to its

 statutory authority under 26 U.S.C. § 6103(f)(4)(A), voted to submit the

 Whistleblower Materials to the full House of Representatives. As a result of that

 vote, the Whistleblower Materials have been hosted on the Committee’s public

 website.6 The Committee voted to release the Whistleblower Materials pursuant to

 its statutory authority under 26 U.S.C. § 6103(f)(4)(A), which provides in relevant

 part, that:

        [The Committee] shall have the authority, acting directly, or by or
        through such examiners or agents as the chairman of such committee
        or such chief of staff may designate or appoint, to inspect returns and
        return information at such time and in such manner as may be
        determined by such chairman or chief of staff. Any return or return
        information obtained by or on behalf of such committee pursuant to
        the provisions of this subsection may be submitted by the committee
        to the Senate or the House of Representatives, or to both.
 26 U.S.C. § 6103(f)(4)(A) (emphasis added). Moreover, Rule XI.2(k)(7) of the

 Rules of the U.S. House of Representatives provides that “[e]vidence or testimony

 taken in executive session, and proceedings conducted in executive session, may be

 released or used in public sessions only when authorized by the committee, a

 majority being present.”7 Here, the Committee specifically voted to authorize the


 6
        See Note 4, supra.
 7
     See Resolution Adopting the Rules of the House of Representatives for the
 One Hundred Seventeenth Congress and, for other purposes (available at:

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 release of the materials.

       In sum, the Whistleblowers were statutorily permitted to present their

 testimony and evidence to the Committee, and the Committee was duly authorized

 to submit the Whistleblower Materials to the full U.S. House of Representatives for

 inclusion in the Congressional Record. The Whistleblower Materials are publicly

 available, and Defendant thus will suffer no injury if those materials are unsealed on

 the Court’s docket.

       In re Avandia makes clear that to support sealing the documents, the District

 Court must make “specific findings on the record concerning the effects of

 disclosure.” 924 F.3d at 672. Here, there is nothing secret about the Whistleblower

 Materials: they are documents in the public domain, released by a Congressional

 Committee acting pursuant to specific statutory authority.             See 26 U.S.C.

 6103(f)(4)(A).   Defendant’s claim that the public filing of the already public

 Whistleblower Materials on this docket will cause harm simply does not stand up to

 scrutiny. See In re Avandia, 924 F.3d at 673 (“The First Amendment right of access

 requires a much higher showing than the common law right [of] access before a

 judicial proceeding can be sealed. Any restriction on the right of public access ‘is ...

 evaluated under strict scrutiny.”) (internal citations and quotations omitted).



 https://rules.house.gov/sites/republicans.rules118.house.gov/files/BILLS-117hres
 PIH-hres7.pdf).


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       D.     Defendant’s Claims Fail as a Matter of Law.
       While the Court should not have to undertake any analysis regarding whether

 the materials should have been made public in the first place—and any such

 challenge would have been more appropriately made elsewhere—Defendant’s

 claims fail as a matter of law. First, with respect to the alleged taxpayer information,

 Section 6103 provides the Defendant with no basis for relief because it does not

 prohibit the disclosure of public information. See, e.g., William E. Schrambling

 Acct. Corp. v. United States, 937 F.2d 1485, 1488 (9th Cir. 1991) (“Disclosure of

 return information that is not confidential does not violate Section 6103.”); Lampert

 v. United States, 854 F.2d 335, 338 (9th Cir. 1988) (“We believe that Congress

 sought to prohibit only the disclosure of confidential tax return information. Once

 tax return information is made a part of the public domain, the taxpayer may no

 longer claim a right of privacy in that information.”). As the Ninth Circuit has stated,

 “[t]he relevant inquiry should focus on whether the prior authorized disclosure …

 destroys the confidential nature of the information.” William E. Schrambling Acct.

 Corp., 937 F.2d at 1488-89. Here, for the reasons set forth above, the answer to that

 question is clearly yes. Just as tax return information loses its confidentiality once

 it is disclosed in a judicial forum and is therefore no longer protected by Section

 6103 (see, e.g., Lambert, 854 F.2d at 338), so too is such information no longer

 protected by Section 6103 once it is disclosed by Congress and widely available to



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 the public.

       Second, with respect to arguments concerning Rule 6(e) materials, Members

 of Congress are not covered by Federal Rule of Criminal Procedure 6(e), so no

 disclosure of grand jury information made by a Member of Congress could violate

 that rule. Specifically, Rule 6(e)(2)(A) states that “[n]o obligation of secrecy may

 be imposed on any person except in accordance with Rule 6(e)(2)(B).” Rule

 6(e)(2)(B) lists the select individuals to which the rule applies, and Members of

 Congress are not listed.

       Separate and apart from that, Defendant’s vague claims that there are grand

 jury materials in the Amicus Filing is unsupported. The purpose of Rule 6(e) is to

 “preserve the secrecy of the grand jury proceedings themselves” and not “statements

 by a prosecutor’s office with respect to a grand jury’s investigation[.]” In re Sealed

 Case No 99-3091, 192 F.3d 995, 1002 (D.C. Cir. 1999).               For example, a

 recommendation by DOJ attorneys that an indictment be sought against an

 individual does not “reveal any information about matters occurring before the grand

 jury,” nor does “a statement of opinion as to an individual’s potential criminal

 liability … provided, of course, the statement does not reveal the grand jury

 information on which it is based.” Id. at 1003.

       Critically, just because material may have some relationship to a grand jury

 investigation does not mean that such material is prohibited from disclosure pursuant



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 to Rule 6(e). Even in the case cited by Defendant, United States v. Smith, 992 F.

 Supp. 743 (D.N.J. 1998), the District Court noted:

       [T]he Court is aware that not every document presented in response to
       a grand jury subpoena becomes a matter occurring before the grand
       jury. Rule 6(e) does not prevent disclosure of all documents subpoenaed
       by a grand jury. See In re Grand Jury Investigation, 630 F.2d 996, 1000
       (3d Cir.1980), cert. denied, 449 U.S. 1081, 101 S. Ct. 865, 66 L.Ed.2d
       805 (1981). Even the mere fact that a document is reviewed by a grand
       jury does not convert it into a matter occurring before the grand jury as
       contemplated by Rule 6(e). Id.

 Defendant has not identified any “grand jury materials” that have been made public.

 Defendant’s claim is baseless.

                                  CONCLUSION

       For the foregoing reasons, Chairman Smith respectfully requests that the

 Court deny Defendant’s Motion for Leave to File Under Seal.




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 Dated: July 31, 2023              HALLORAN FARKAS + KITTILA LLP

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